Case 0:19-cv-61788-WPD Document 1 Entered on FLSD Docket 07/17/2019 Page 1 of 29



                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                              FORT LAUDERDALE DIVISION

    CASE NO.

     JUAN CARLOS GIL,

            Plaintiff,
     v.

     CITY OF NORTH LAUDERDALE, FLORIDA,

            Defendant,


            COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF


           COMES NOW Plaintiff Juan Carlos Gil (“Plaintiff), by and through his

    undersigned counsel, and hereby sues Defendant City of North Lauderdale, Florida

    (“Defendant,” “City,” or “City of North Lauderdale”) for declaratory and injunctive relief,

    attorney‟s fees and costs (including, but not limited to, court costs and expert fees)

    pursuant to Title II of the Americans with Disabilities Act of 1990, as amended, 42 U.S.C.

    §12131 et. seq. (“ADA”) and Section 504 of the Rehabilitation Act of 1973 (“RA”), 29

    U.S.C. §794 ("Section 504”) and alleges as follows:

                                       INTRODUCTION

           1.   This is an action under Title II of the Americans with Disabilities Act of 1990

    and under Section 505 of the RA through which Section 504 is enforced to redress

    unlawful disability-based practices and to make Plaintiff Juan Carlos Gil whole.

           2.   Defendant has directly violated Department of Justice Guidelines for

    document publishing.

           3.   Defendant does not have an electronic document publishing policy.

                                                 1
Case 0:19-cv-61788-WPD Document 1 Entered on FLSD Docket 07/17/2019 Page 2 of 29



           4.   Defendant City of North Lauderdale, Florida is a public entity which has

    provided the electronic documents related to the City of North Lauderdale government.

           5.   The document creation, storage and archiving is a program, service, and

    activity of the City of North Lauderdale. Much of that content is provided in portable

    document format (“PDF”).          While the documents are currently stored on the

    www.nlauderdale.org website, the documents are not inextricably tied to the website. The

    documents can be stored on any digital store device or media such as a thumb drive,

    compact disc, external hard drive or DVD. Neither the internet nor a website is needed to

    access or use the documents.

           6.   A majority of the Defendant‟s electronic documents were created in an

    accessible format, and then Defendant took affirmative action to make them inaccessible.

           7.   Defendant has denied Plaintiff his fundamental right to observe and

    participate in the democratic process of self-government. A citizen‟s right to meaningful

    participation in the political process and to access publicly available information needed

    to participate in the process is a fundamental right requiring heightened scrutiny. Johnny

    Reininger, Jr. v. State of Oklahoma, Case No.: 5:16-cv-012141 (November 9, 2017) and

    Natl Association of the Deaf (NAD) v State of Florida, 318 F. Supp. 3d 1338 (S.D. Fla.

    2018). The First Amendment to the United States Constitution guarantees citizens the

    right to petition government for redress of grievances. The City of North Lauderdale has

    violated (and continues to violate) Plaintiff‟s constitutional right to petition the City of

    North Lauderdale government because it denies him equal access to the publicly available

    information needed to exercise this right.

           8.   Plaintiff brings this action against the Defendant to enforce the requirement

    of Section 504 that a public entity receiving or distributing federal financial assistance
                                                2
Case 0:19-cv-61788-WPD Document 1 Entered on FLSD Docket 07/17/2019 Page 3 of 29



    (which Defendant receives and distributes each year) must not deny persons with

    disabilities the benefits of its programs, services and activities.

            9.   By failing to provide electronic documents in accessible format, Defendant

    has deprived blind, visually impaired and low sighted individuals of the benefits of its

    published content and in so doing has engaged in discriminatory practices.

            10. Defendant‟s denial of much of its publicly available online content to blind

    and visually impaired individuals violates Section 504, Title II of the ADA, and the basic

    tenants of the Civil Rights Act.

                                  JURISDICTION AND VENUE

            11. Plaintiff is expressly authorized to bring this action pursuant to Title II of the

    ADA, 42 U.S.C. §§ 12131-12133, incorporating by reference the remedies, procedures

    and rights under Sections 504, 29 U.S.C. § 794, §794(a), incorporating the remedies,

    rights and procedures set forth in §717 of the Civil Rights Act of 1964, including the

    application of §706(f) through §706(k), 42 U.S.C. §§2000e-5(f)-(k).

            12. This Court has federal question jurisdiction pursuant to 28 U.S.C. §1331 and

    42 U.S.C. §12188. This Court‟s jurisdiction is proper under 28 U.S.C. §§ 451, 1331,

    1337, and 1343.

            13. Plaintiff has met all conditions precedent to bring this action.

                                               PARTIES

    Juan Carlos Gil

            14. Plaintiff Juan Carlos Gil is a resident of the State of Florida, is legally blind

    and a member of a protected class under the ADA, 42 U.S.C. §12102(1)-(2) and the

    regulations implementing the ADA and as set forth at 29 USC §705(20). Plaintiff suffers

    optic nerve damage and is legally blind. Plaintiff also suffers from cerebral palsy, is
                                                    3
Case 0:19-cv-61788-WPD Document 1 Entered on FLSD Docket 07/17/2019 Page 4 of 29



    unable to walk, and is confined to a wheelchair. Plaintiff‟s disability is defined in 28

    C.F.R. §35.108, as Plaintiff is substantially limited in the major life activity of seeing,

    specifically 28 C.F.R. §35.108(c)(1). Plaintiff lives in Miami-Dade County which is

    contiguous and immediately adjacent to Broward County which includes the City of

    North Lauderdale, Florida.

             15.      Plaintiff is an athlete who travels for his athletic triathlon endeavors, and

    also is an advocate for the rights of blind and wheelchair bound disabled individuals.1

             16.       In the past years, Plaintiff has traveled to Arizona, Orlando, and Boston to

    attend various conventions and meetings to advance the rights of the disabled. Such events

    include, but are not limited to, the National Federation for the Blind convention in

    Orlando2, the American Counsel for the Blind conferences3 and various focus groups and

    meetings throughout the east coast.

             17. Plaintiff advocates for the disabled in the state of Florida. He relies on

    publicly available information to aid in his advocacy and participation in the political

    process. Much of the publicly available information is in a portable document format

    (PDF) and is stored or archived on public entity websites.

             18. Due to his disability, the Plaintiff requires that document information be

    saved in an accessible format such as HTML or an accessible electronic format so that he

    can comprehend (read) that document with screen reader software.

             19. Plaintiff is a qualified and/or otherwise qualified individual with a disability.

    Plaintiff‟s interest in public discourse and public services and Defendant‟s failure to

    1
      Juan Carlos Gil has traveled to speak on disabled rights, written letters, and mentored other disabled
    individuals as well as being the Plaintiff in the Landmark Historic federal trial over Web Accessibility (Juan
    Carlos Gil v Winn Dixie Stores, Inc. No. 16-cv-23020); See press release on case:
    www.prweb.com/releases/2017scottrdinin/06civilrights/prweb14437034.htm
    2
      July 2017, 2018
    3
      In 2017 (Nevada) and in 2018 (Wisconsin)
                                                          4
Case 0:19-cv-61788-WPD Document 1 Entered on FLSD Docket 07/17/2019 Page 5 of 29



    provide that information to Plaintiff as it provides to the non-disabled public fall within

    the zone of interest which the RA and Title II of the ADA protect, thus qualifies Plaintiff

    as a person who has been subjected to unlawful discrimination. (see, Bank of America v

    City of Miami 137 S. Ct. 1296 (2017)).

     City of North Lauderdale, Florida

               20. City of North Lauderdale, Florida is a local government entity, a body

    corporate and political subdivision of the State of Florida. The City of North Lauderdale

    is located in north-central Broward County, it was incorporated on July 19, 1963.

               21. City of North Lauderdale, Florida Home Rule gives the City of North

    Lauderdale City Commissioners the ability to create (through a local public hearing

    ordinance procedure) local laws4. This process is done without having to go to the Florida

    Legislature to request special legislation to create these laws. The City Commission is the

    governing body of the City. Its members are directly elected by the people of the City of

    North Lauderdale. The City Commission appoints a City Manager who implements City

    of North Lauderdale policy and laws and manages the governmental agencies and

    departments of the City of North Lauderdale. The City Commission distributes federal

    financial assistance through its budgetary and legislative process to the City of North

    Lauderdale‟s agencies and departments. No person, agency or department is above the

    City Commission.

               22. Since Defendant is a public entity, it is subject to Title II of the ADA. 42

    U.S.C. §12131(1).

               23. As Defendant is also a recipient and distributor of federal funds, it is also

    subject to the requirements of Sections 504
    4
        that are not in conflict with or specifically prohibited by state general law or the Florida Constitution
                                                               5
Case 0:19-cv-61788-WPD Document 1 Entered on FLSD Docket 07/17/2019 Page 6 of 29



                                   GENERAL ALLEGATIONS

           24. As further set forth in detail below, when Plaintiff went to the City of North

    Lauderdale website to view its documents in March and April of 2019, they were not

    accessible to persons using a screen reader causing him an injury in fact because he is in

    the zone of interest covered under the ADA and the RA. Defendant caused the injury

    when it failed to comply with the ADA and the RA. Plaintiff plans to visit the City of

    North Lauderdale website in the near future (see Houston v. Morad Supermarkets, Inc.

    733 F.3d 1323 (11th Cir. 2013) and will continue to suffer further discrimination because

    Defendant refuses to comply with the ADA and the RA. Any future injury will be

    redressed by a favorable decision from this Court requiring Defendant to comply with the

    law. Plaintiff has standing consistent with the requirements the Eleventh Circuit set forth

    in Houston. Plaintiff is an interested person because he (as a blind individual) sought to

    receive documents from the City of North Lauderdale in an accessible format, followed

    the statutory scheme as intended by Congress and the City of North Lauderdale has failed

    to accommodate Plaintiff and has suffered injury in fact as a result of the City of North

    Lauderdale‟s discrimination.

           25. Defendant offers a service through its online portal www.nlauderdale.org

    where interested persons can obtain pertinent information regarding the government of

    City of North Lauderdale. This information aids persons who advocate public policy on

    behalf of themselves or others. Plaintiff is such a person. He is interested in City of North

    Lauderdale policies as they relate to the disabled and infirm using the City of North

    Lauderdale‟s services, programs and activities.

           26. Plaintiff currently resides in Coral Gables, which is in Miami-Dade County.



                                                  6
Case 0:19-cv-61788-WPD Document 1 Entered on FLSD Docket 07/17/2019 Page 7 of 29



    The cost of living in Coral Gables is 206.15, which is significantly higher than the

    national average. The high cost of living has become burdensome on Plaintiff therefore he

    is considering moving out of the area to a more affordable location in Florida. In the City

    of North Lauderdale the cost of living is 112.86 which is much more affordable compared

    to the cost of living in Coral Gables.

              27. During the course of Plaintiff‟s research into viable living options, Plaintiff

    has sought communities which are friendly to the disabled community and have a smaller

    population base than Coral Gables. The City of North Lauderdale has a population of

    44,3917 whereas the Coral Gables population is 51,0958.

              28. In the course of Plaintiff‟s travels around Florida, he has visited the City of

    North Lauderdale and found the residents he met in the general course of his day to be

    friendly and helpful. While visiting the City of North Lauderdale, specifically the

    Hampton Pines Park (which is only 38 miles from his current home location) the Plaintiff

    felt safe and welcome. He particularly found Hampton Pines Park to be quiet and safe.

              29. Plaintiff has researched the apartments for rent in the North Lauderdale area

    and found a significant number of affordable rental apartments in the area.

              30. Based upon Plaintiff‟s initial research and personal visits to the area, Plaintiff

    feels that the City of North Lauderdale would be a nice place to live and is a viable living

    option.

              31. Defendant provides pertinent information on living and visiting the City of




    5
      https://www.bestplaces.net/cost_of_living/city/florida/coral_gables
    6
      https://www.bestplaces.net/cost_of_living/city/florida/north_lauderdale
    7
      https://www.census.gov/search-
    results.html?searchType=web&cssp=SERP&q=North%20Lauderdale%20city,%20FL
    8
      http://worldpopulationreview.com/us-cities/coral-gables-fl-population/
                                                     7
Case 0:19-cv-61788-WPD Document 1 Entered on FLSD Docket 07/17/2019 Page 8 of 29



    North Lauderdale including (but not limited to): the City‟s residential paint program9, a

    list of storm shelters10, and information about a prescription discount card for City

    residents11. These types of documents are made available by Defendant to generally

    inform the public of the services provided by Defendant.

           32. Defendant‟s electronic documents provide information on the City of North

    Lauderdale‟s policies and positions which affect the public directly. A sampling of those

    links to electronic is provided herein below:

            •     Ordinance NO. 18-09-137912, which links to an electronic document
    pertaining to the adoption of a final budget for the City of North Lauderdale FY 2018-
    2019;
            •     Resolution NO. 18-09-0413(featured on the Water Control page), which links
    to rules pertaining to water control and drainage services;

           33. The City of North Lauderdale‟s Commissioners‟ meetings have a direct effect

    on the lives of residents of the City of North Lauderdale (in particular) and citizens of the

    state of Florida (in general). Interested persons can become informed about the effect of

    the City of North Lauderdale Commissioner meetings and the resulting policies, budgets,

    and services online by viewing the electronic documents generated which reflect the

    decisions made by the City of North Lauderdale Commissioners through this portal.

    Interested persons are able to view electronic documents related to the government of the

    City of North Lauderdale through this portal. An example of electronic documents

    includes the 2019 City budget14 and the June 2019 Commission meeting agenda15.

           34. Through perusing the agenda documents, interested persons can ascertain


    9
      http://www.nlauderdale.org/PaintProgram(Website).pdf
    10
       http://www.nlauderdale.org/document_center/hurricane%20information/Shelter%20List.pdf
    11
       http://www.nlauderdale.org/prescription%20drug.pdf
    12
       http://www.nlauderdale.org/Ord18-09-1379%20Adopting%20CNL%20Final%20Budget%20FY%202018-
    19.pdf
    13
       http://www.nlauderdale.org/document_center/utilities/Resolution%2018-09-04.pdf
    14
       http://www.nlauderdale.org/City%20of%20North%20Lauderdale%202019BudgetBook.pdf
    15
       http://www.nlauderdale.org/Agenda%20Packet%2006-11-19.pdf
                                                    8
Case 0:19-cv-61788-WPD Document 1 Entered on FLSD Docket 07/17/2019 Page 9 of 29



    what legislation and projects are being considered regarding important disability policies

    for many of the City‟s programs, services and activities.

             35. Plaintiff is interested in public policy, resolutions, minutes, and ordinances

    which relate to disability policy regarding such issues as healthcare, transportation for

    disabled, elections, senior citizen services16, affordable housing, parks and recreation,

    sidewalks17, pedestrian safety, law enforcement training to handle encounters with

    persons who are deaf or have autism and other matters. These policy documents will

    inform Plaintiff‟s advocacy regarding disability rights and accessibility to the City of

    North Lauderdale‟s programs, services and activities for persons with disabilities. A

    sampling of links to electronic documents is provided herein below:

                        • A June 2019 Regular Meeting Agenda18 which concerned various
                 items such as community events, stormwater assessments, and more;
                         • A Budget Workshop Agenda from July 201919 which links to an
                 electronic document covering various City ordinances and resolutions;
                        • Proposed Budget for FY 202020, which links to an Ordinance of the
                 City of North Lauderdale concerning historic preservation which concerns
                 disabled persons because of accessibility;
                       • A June 2019 Commission Meeting Minutes21, which links directly
                 to an electronic document that pertains to fire rescue services, waste
                 management updates and more.
             36. Defendant also provides publications to the public which are also in

    electronic document format. These publications contain information on a variety of the

    City of North Lauderdale‟s issues. A few of the publications provided to the public by




    16
       Seniors may not be disabled, but as they age they are effected by issues commonly associated with
    disabilities such as loss of vision, hearing and mobility challenges.
    17
       Plaintiff is blind. Sidewalks that are not properly maintained can cause him to trip or fall. A person in a
    wheelchair could be ejected from a wheelchair. Improper curb cuts could cause Plaintiff to trip.
    18
       http://www.nlauderdale.org/Agenda%20Packet%2006-25-19.pdf
    19
       http://www.nlauderdale.org/Agenda%20Packet%20_07-09-19.pdf
    20
       http://www.nlauderdale.org/City%20of%20North%20Lauderdale-Proposed%202020%20ADA.pdf
    21
       http://www.nlauderdale.org/COMMISSION%20MINUTES%2006-11-19.pdf
                                                           9
Case 0:19-cv-61788-WPD Document 1 Entered on FLSD Docket 07/17/2019 Page 10 of 29



     Defendant include (but are not limited to): a Pool Safety Brochure22, Household

     Hazardous Waste Collection Dates23, Insurance and Construction Information for

     Property Owners24, the summer 2019 newsletter25, a recycling guide26, and a Hurricane

     Preparedness Guide27. These publications are made available by Defendant to inform the

     public of up-to-date (current and pertinent) information for residents and visitors of City

     of North Lauderdale regarding services provided by Defendant to the public (visitors,

     businesses, and residents).

            37. Online “on-demand” viewing of the Defendant‟s electronic documents is not

     an option available to persons with vision disabilities due to the fact that those documents

     are provided solely in a PDF flat surface format and do not interface with screen reader

     software as used by blind and visually impaired individuals. Plaintiff (who is legally

     blind) is such an interested person.

            38. In March 2019 Plaintiff attempted to view Defendant‟s electronic documents

     to prepare for constitutionally protected advocacy activities for the disabled and infirm as

     set forth in paragraph 16, supra.

            39. Because Defendant‟s electronic documents are published in violation of DOJ

     policy as they are discriminatory on their fact and effect. Defendant‟s electronic

     documents are not provided in an accessible format for the blind and visually impaired

     and are not provided in accessible HTML or PDF format, such that Plaintiff has been

     prevented from becoming informed about the City of North Lauderdale‟s governmental

     22
         http://www.nlauderdale.org/document_center/residents/Pool_Safety_Brochures.pdf
     23
         http://www.nlauderdale.org/Hazardous%20Waste%20Collection%20Dates.pdf
     24
        http://www.nlauderdale.org/document_center/hurricane%20information/WC%20Disaster%20info%20for%
     20Property%20Owners%20Updated.pdf
     25
         http://www.nlauderdale.org/Summer%20News%20Letter%202019.pdf
     26
         http://www.nlauderdale.org/document_center/garbage%20-
     %20recycling/Sun%20Bergeron%20Recycling%20sheet%20blue.pdf
     27
         http://www.nlauderdale.org/Hurricane%202019.pdf
                                                    10
Case 0:19-cv-61788-WPD Document 1 Entered on FLSD Docket 07/17/2019 Page 11 of 29



     functioning, policies, programs, services and activities that Defendant offers to the

     disabled and infirm, because of his vision disability.

            40. This exclusion resulted in Plaintiff suffering from feelings of segregation,

     rejection, and isolation.

            41. Due to his inability to comprehend Defendant‟s electronic documents, on

     March 23, 2019 Plaintiff wrote a letter to Defendant and informed Defendant that he is

     legally blind and unable to fully access the electronic documents which Defendant

     provides to the public with his screen reader software. In that letter, Plaintiff requested

     Defendant‟s electronic documents be provided in an accessible format for blind and

     visually impaired individuals (such as himself). Plaintiff made this request via U.S. mail

     service. Plaintiff‟s letter request is attached hereto as Exhibit A.

            42. On March 27, 2019 Defendant sent a letter in response to the Plaintiff which

     stated that they are currently in the process of assessing and updating their site‟s

     accessibility, See Exhibit B. in its response, the City of North Lauderdale admitted that its

     electronic documents are not accessible for the visually impaired who use screen reader

     software. Defendant‟s response did not state that the electronic documents which it

     provides to the public were now accessible or when they would be accessible for use with

     screen reader software as Plaintiff had requested in his request for accommodation letter.

            43. In April 2019, Plaintiff again attempted to access Defendant‟s electronic

     documents, but those electronic documents remained inaccessible as he still could not

     comprehend them with his screen reader software. It is sufficiently obvious that Plaintiff

     and others who are blind or low sighted need Defendant to properly save its documents so

     that they are accessible on demand and permit such persons to benefit from the services,

     programs and activities.
                                                    11
Case 0:19-cv-61788-WPD Document 1 Entered on FLSD Docket 07/17/2019 Page 12 of 29



               44. Plaintiff has concrete plans to move from Miami in the near future and the

     City of North Lauderdale is bordering Miami-Dade County, therefore the City of North

     Lauderdale presents as a viable living option. Plaintiff will be able to assess his ability to

     move to the City of North Lauderdale once he is able to access all of the services and

     benefits which the City of North Lauderdale offers through the City of North

     Lauderdale‟s electronic documents (which are currently inaccessible to Plaintiff). (see

     Houston v Marod Supermarkets, Inc. 733 F.3d 1323, 1340 (2013).

               45. Plaintiff continues to desire to advocate on behalf of the disabled and infirm

     within the City of North Lauderdale. However, Plaintiff is unable to undertake his

     constitutionally protected activities, as he is unable to meaningfully access and

     comprehend the electronic documents provided by Defendant for the public.

               46. Furthermore, Defendant has not provided any other auxiliary aid or service

     which would assist Plaintiff and/or similarly situated blind or visually impaired

     constituents to meaningfully access and fully comprehend Defendant‟s electronic

     documents in the same manner as Defendant has as made available to the non-disabled

     public.

               47. Because Defendant has not provided its electronic documents in an accessible

     format for the blind and visually impaired, Plaintiff was left excluded from political

     advocacy with the City of North Lauderdale government.

               48. Plaintiff‟s inability to access Defendant‟s electronic documents has resulted

     in a virtual barrier which has impaired, obstructed, hindered, and impeded Plaintiff‟s

     ability to become an involved citizen in advocating for the disabled in the City of North

     Lauderdale government and learn about the programs, services and activities available to

     disabled residents to (and visitors of) the City of North Lauderdale.
                                                   12
Case 0:19-cv-61788-WPD Document 1 Entered on FLSD Docket 07/17/2019 Page 13 of 29



            49. On information and belief, since March 2019 when Plaintiff first began to

     attempt to access and learn about the City of North Lauderdale‟s programs, services,

     activities and government, Defendant has not made reasonable modifications to its

     policies and procedures to ensure future compliance with the ADA and/or the RA.

            50. As of this filing, the electronic documents made available by Defendant

     remain inaccessible to Plaintiff as well as to other blind and visually disabled individuals.

            51. Plaintiff continues to desire to advocate for an inclusive government policy

     within the City of North Lauderdale government. He needs to be fully informed about

     past actions and policies before advocating for changes in current policy. However,

     Plaintiff is unable to do so, as he is unable to meaningfully access and comprehend the

     electronic documents provided by Defendant for the public.

            52. By Defendant‟s failure to make the electronic documents accessible, Plaintiff

     has suffered injuries and shame, humiliation, isolation, segregation, experienced

     emotional suffering, pain and anguish and has been segregated and prohibited from

     enjoying the programs, services and activities offered by Defendant to the public.

            53. Plaintiff will suffer continuous and ongoing harm from the Defendant‟s

     omissions, policies, and practices regarding its electronic documents unless enjoined by

     this Court.

            54. Defendant has engaged (and continues to engage) in unlawful practices in

     violation of Title II of the ADA (42 U.S.C. §12132 and Section 504).

            55. Defendant‟s unlawful practices include (but are not limited to) denying

     Plaintiff (an individual with a disability) the ability to participate in City of North

     Lauderdale government and to participate in the City of North Lauderdale‟s community

     programs, services and activities by failing to provide Plaintiff the ability to study and
                                                   13
Case 0:19-cv-61788-WPD Document 1 Entered on FLSD Docket 07/17/2019 Page 14 of 29



     review the City of North Lauderdale‟s electronic documents in the same manner as

     provided to the sighted public.

            56. Defendant is deliberately indifferent to the provisions of the RA and Title II

     of the ADA in regard to the unlawful practices described herein because Defendant is

     aware of the availability of computer programs which allow Defendant to save electronic

     documents in an accessible format. Despite the ease of providing accessible electronic

     documents, Defendant has failed to reasonably modify its policies, processes and

     procedures for the same.

            57. As a result of Defendant's actions, Plaintiff has been damaged and has

     suffered injuries and shame, humiliation, isolation, segregation, experienced emotional

     suffering, pain and anguish.

            58. For all of the foregoing, Plaintiff has no adequate remedy at law.

            59. Plaintiff has retained Scott Dinin P.A. and J. Courtney Cunningham PLLC as

     his legal counsel in this action and has agreed to pay a reasonable attorney fee.

                     COUNT I – VIOLATIONS OF TITLE II OF THE ADA

            60. Defendant‟s document creation and storage is a program, service, or activity

     within the definition of Title II of the ADA. Defendant makes information available in

     thousands of pages of documents available through its information portal from which the

     public can access electronic documents.

            61. The broad mandate of the ADA is to provide an equal opportunity for

     individuals with disabilities to participate in and benefit from all aspects of American

     civic and economic life and that mandate extends to public entities including Defendant

     and the documents that Defendant provides to the public (including those documents

     provided in electronic document format).
                                                  14
Case 0:19-cv-61788-WPD Document 1 Entered on FLSD Docket 07/17/2019 Page 15 of 29



            62. The Department of Justice (“DOJ”) addressed PDF document publishing by

     Title II entities in 2003 and 2008. The DOJ mandated through Department Technical

     Guidance that if a Title II entity were going to publishing electronic documents on the

     Internet through the World Wide Web, they must offer those documents in an accessible

     format i.e.: HTML.

            63. The DOJ guidelines on the application of Title II of the ADA state:

            “[T]he Department has taken the position that title II covers Internet Web site
            access. Public entities that choose to provide services through web-based
            applications (e.g., renewing library books or driver's licenses) or that communicate
            with their constituents or provide information through the Internet must ensure that
            individuals with disabilities have equal access to such services or information,
            unless doing so would result in an undue financial and administrative burden or a
            fundamental alteration in the nature of the programs, services, or activities being
            offered.” 28 C.F.R. Pt. 35 app. A, page 126.

            64. Title II of the ADA mandates that no qualified individual with a disability

     shall, by reason of such disability, be excluded from full and equal participation in or be

     denied the benefits of the services, programs, or activities of a public entity, or be

     subjected to discrimination by any such entity, 42 U.S.C. §12132.

            65. Historically, Congress‟ statutory intent has been to construe Civil Rights

     legislation broadly. The interpretation of causation is based on proximate (not remote)

     cause. In Bank of America, the Supreme Court affirmed that proximate cause is controlled

     by the nature of the statutory cause of action (quoting from Lexmark Intl’ Inc. v. Static

     Control Components, Inc. 572 U.S. (2014)). In Civil Rights violations, proximate cause

     requires a direct relation between the injury asserted and the injurious conduct. The

     interconnection of the right to participate in government and social programs and

     economic and social life is fluid and multi-dimensional such that a violation of civil rights

     causes ripples of harm to flow. Bank of America (quoting from Ass. Gen. Contractors of


                                                  15
Case 0:19-cv-61788-WPD Document 1 Entered on FLSD Docket 07/17/2019 Page 16 of 29



     Cal. Inc. v. Carpenter, 459 U.S. 519, 534 (1983)). In Bank of America, the Supreme Court

     held that Congress has not legislated (drawn) precise boundaries on the application of

     proximate cause for civil rights violations and instructed the lower court to define the

     contours of proximate cause based on the facts and circumstances of the underlying

     action. Thus, as a disabled individual, the instant Plaintiff has established standing.   In

     considering standing, in Havens Realty Corp v Coleman, 455 U.S. 363 (1982) the

     Supreme Court explained that “the actual or threatened injury required by Art. III may

     exist solely by virtue of statutes creating legal rights, the invasion of which creates

     standing.” Id. at 373, 102 S.Ct. at 1121 (alterations adopted) (quoting Warth v.

     Seldin, 422 U.S. 490, 500, 95 S.Ct. 2197, 2206, 45 L.Ed.2d 343 (1975)); see also Linda

     R.S. v. Richard D., 410 U.S. 614, 617 n. 3, 93 S.Ct. 1146, 1148 n. 3, 35 L.Ed.2d 536

     (1973) ("Congress may enact statutes creating legal rights, the invasion of which creates

     standing, even though no injury would exist without the statute.").

            66. In Bledsoe v. Palm Beach County Soil & Water Conservation District, 133

     F.3d 816, 821-22 (11th Cir. 1998) and Bircoll v. Miami-Dade County, 480 F.3d 1072,

     1085, (11th Cir. 2007), the Eleventh Circuit explained that “subjected to discrimination by

     any such entity” is not directly tied to “services, programs or activities” of the public

     entity. Instead, subjected to discrimination by any such entity “is a catch-all phrase that

     prohibits all discrimination by a public entity, regardless of the context.” Bledsoe at 822.

     Therefore, discrimination by a public entity is prohibited regardless of whether such

     discrimination involves a service, program or activity.

            67. Defendant City of North Lauderdale, Florida is a political subdivision of the

     State of Florida and a public entity under Title II of the ADA. A public entity includes

     any instrumentality of a state or local government, therefore Defendant is subject to Title

                                                  16
Case 0:19-cv-61788-WPD Document 1 Entered on FLSD Docket 07/17/2019 Page 17 of 29



     II of the ADA. 42 U.S.C. §12131(1)(b).

            68. As a public entity, Defendant must:

                   a)      Provide full and equal enjoyment of its services, programs, and

            activities in the most integrated setting appropriate to people with disabilities. 42

            U.S.C. §12131, et. seq.; 28 C.F.R. §35.130(a).

                   b)      Ensure that no individual with a disability is excluded, denied

            services, segregated, or otherwise treated differently than other individuals unless

            the public entity can demonstrate that taking those steps to modify policies,

            practices, or procedures would fundamentally alter the nature of the service,

            program, or activity; 28 C.F.R. §35.130(b)(7).

                   c)      Ensure that no individual with a disability is excluded, denied

            services, segregated or otherwise treated differently than other individuals unless

            the public entity can demonstrate that legitimate safety requirements are necessary

            for safe operation. Any safety requirements must be based on actual risks and not

            on mere speculation, stereotypes, or generalizations about individuals with

            disabilities; 28 C.F.R. §35.130(h).

            69. Defendant is a recipient of federal financial assistance. As a condition

     precedent to receiving such assistance, Defendant must affirm that it is in compliance

     with federal anti-discrimination laws including the RA of 1973 and the ADA. Defendant

     has consistently and repeatedly affirmed such compliance to the federal funding agencies

     when it knows that it is not complying with those laws based upon the DOJ Technical

     Guidance first issued in 2003 and updated in 2008.

            70. Defendant failed to provide its electronic documents in a format accessible to

     visually impaired individuals who require screen reader software to comprehend those
                                                  17
Case 0:19-cv-61788-WPD Document 1 Entered on FLSD Docket 07/17/2019 Page 18 of 29



     electronic documents despite the sufficiently obvious need to do so. Therefore, Plaintiff

     has been effectively denied access to those electronic documents by Defendant.

             71. By denying Plaintiff the opportunity to comprehend and benefit from its

     electronic documents due to Plaintiff‟s disability (visual impairment), Defendant has

     denied Plaintiff the opportunity to participate in or benefit from the services, programs or

     activities afforded to non-disabled persons and persons who are not visually impaired and

     has therefore subjected Plaintiff to discrimination.

             72. Providing electronic documents in a format that can be recognized by screen

     reader software and therefore making those electronic documents accessible to the

     visually impaired would not result in any undue burden to Defendant.

             73. Providing electronic documents in a format that can be recognized by screen

     reader software thereby making those electronic documents accessible to the visually

     impaired would not fundamentally change the nature of Defendant‟s services, programs,

     or activities.

             74. Defendant is required to provide full and equal enjoyment of its services,

     programs, and activities in the most integrated setting appropriate to people with

     disabilities; 42 U.S.C. §12131, et. seq.; 28 C.F.R. Part 35.

             75. As a result of the virtual barriers within the electronic documents provided by

     Defendant, visually impaired individuals are denied the full and equal access to the

     services, programs, and activities offered by the City of North Lauderdale and have been

     denied participation in the government of the City of North Lauderdale in a manner equal

     to that afforded to others; in derogation of Title II of the ADA and Section 504.

             76. As a public entity, Defendant may not (directly or through contractual or

     other arrangements) utilize methods of administration that deny individuals with
                                                   18
Case 0:19-cv-61788-WPD Document 1 Entered on FLSD Docket 07/17/2019 Page 19 of 29



     disabilities access to its services, programs, and activities or that perpetuate the

     discrimination of another public entity; 28 C.F.R. § 35.130(b)(3).

            77. As a public entity and pursuant to Title II, Defendant is required to make

     reasonable modifications in its policies, practices, or procedures when the modifications

     are necessary to avoid discrimination on the basis of disability, unless the public entity

     can demonstrate that making the modifications would fundamentally alter the nature of

     the service, program, or activity; 28 C.F.R. § 35.130(b)(7).

            78. Defendant is required to present the electronic documents it provides to the

     public in an accessible format in a timely manner, and in such a way as to protect the

     privacy and independence of the individual with a disability.

            79. Defendant‟s failure to make its electronic documents accessible has impeded

     Plaintiff from accessing the publicly available information required to advocate for the

     disabled and infirm. However, the City of North Lauderdale made this information

     available to the non-disabled so that they can participate in the services and programs of

     the City of North Lauderdale and advocate on any topic they wish. By such failure,

     Defendant has discriminated against the visually impaired.

            80. Defendant is blatantly discriminating by its failure to provide accessible

     electronic documents for blind and visually impaired citizens. Defendant has violated

     Title II of the ADA in numerous ways, including discriminatory action which occurred

     when the Defendant failed to maintain policies and procedures to ensure compliance with

     Title II of the ADA by creating barriers for individuals with disabilities who are visually

     impaired and who require the assistance of interface with screen reader software to

     comprehend and access Defendant‟s electronic documents provided within its Website.

     These violations are ongoing.
                                                  19
Case 0:19-cv-61788-WPD Document 1 Entered on FLSD Docket 07/17/2019 Page 20 of 29



              81. As a result of Defendant‟s inadequate creation, development, and

     administration of Defendant‟s electronic documents, Plaintiff is entitled to injunctive

     relief pursuant to 42 U.S.C. §12133 to remedy the discrimination.

       COUNT II – VIOLATION OF SECTION 504 OF THE REHABILITATION ACT

              82. Plaintiff is legally blind, which substantially limits him in his major life

     activity of seeing. Therefore, Plaintiff is an otherwise qualified individual with a disability

     under Section 504 of the RA and a person who has suffered discrimination caused by

     Defendant.

              83. In Nat’l Ass’n of Deaf v. State, 318 F.Supp. 3d 1338, 1348 (SD Fla. 2018) at

     *5 (citing Cash v. Smith, 231 F.3d 1301, 1305 (11th Cir. 2000) the court found that the

     elements of a Title II and a Section 504 claim are the same and can be addressed together.

              84. As an otherwise qualified individual, Plaintiff is expressly authorized under

     Section 505 of the RA which enforces Section 504, 29 U.S.C. §794 & §794(a),

     incorporating the remedies, rights and procedures set forth in Section 717 of the Civil

     Rights Act of 1964, including the application of §§706(f) - (k), 42 U.S.C. §§ 2000e (5)(f)

     - (k).

              85. On information and belief, Defendant is a recipient of federal financial

     assistance. The City of North Lauderdale City Commission distributes that federal

     financial assistance to its agencies and departments through its budgetary and legislative

     activities. As the distributor of federal financial assistance, all of the operations of the

     City Commission (including Defendant‟s document creation and archives) are subject to

     the RA as a covered program or activity; 29 U.S.C. §794(b)(1)(B).

              86. Congress enacted the RA in 1973 to enforce the policy of the United States

     that all programs, projects, and activities receiving federal assistance “… be carried out in
                                                   20
Case 0:19-cv-61788-WPD Document 1 Entered on FLSD Docket 07/17/2019 Page 21 of 29



     a manner consistent with the principles of … inclusion, integration, and full participation

     of the individuals [with disabilities].” (codified at 29 U.S.C. §701(c)(3))

            87. Section 504 of the RA prohibits recipients of federal funding from

     discriminating against disabled persons and requires that programs or activities operated

     by a federally-funded entity be readily accessible to persons with disabilities; 28 C.F.R.

     §42.520.

            88. For the purposes of RA claims, the term “program or activity” means all of

     the operations the entity of the State or local government that distributes such assistance

     and each such department or agency (and each other State or local government entity) to

     which the assistance is extended; 29 U.S.C. Section 504, §794(b)(1)(B).

            89. Section 504 of the RA, 29 U.S.C. §794 requires that no otherwise qualified

     individual with a disability, on the basis of that disability, be excluded from participation

     in or be denied the benefit of the services, programs, activities, or to otherwise be

     discriminated against.

            90. The RA defines “program or activity” to mean all of the operations of an

     entity of state or local government which distributes federal financial assistance. The City

     of North Lauderdale City Commission is an entity of state or local government that

     distributes federal financial assistance, all of the operations of the City of North

     Lauderdale are covered under the RA including the City of North Lauderdale‟s creation,

     storage and providing electronic documents to the public. For the purposes of this section,

     the term “program or activity” consists of all of the operations of a department, agency,

     special purpose district, or other instrumentality of a state or of a local government; 29

     U.S.C. §794(b)(1)(A).

            91. By failing to make its electronic documents accessible to the visually disabled
                                                  21
Case 0:19-cv-61788-WPD Document 1 Entered on FLSD Docket 07/17/2019 Page 22 of 29



     City of North Lauderdale has denied access to its services, programs and/or activities to

     the visually disabled, which has subjected Plaintiff to discrimination, excluded Plaintiff

     from participation (in those services, programs and/or activities), and denied Plaintiff the

     benefits of Defendant‟s electronic documents.

            92. As of this filing, Defendant‟s electronic documents are inaccessible to

     persons who are blind and/or low sighted and use screen readers to comprehend the

     internet, but are accessible to persons without vision disabilities.

            93. Specifically, as related to violations of Section 504, blind and visually

     impaired individuals need to comprehend and access the electronic documents which

     Defendant provides to the public. Yet, Defendant‟s electronic documents are not saved in

     an accessible format which properly interfaces with screen reader software so that blind

     and visually impaired individuals are able to comprehend those documents.

            94. As a distributor of federal funds and pursuant to Section 504, the Defendant

     may not deny a qualified handicapped person the opportunity to participate in or benefit

     from the aid, benefit, or service; 45 CFR §84.4(b)(1)(i).

            95.     As a distributor of federal funds and pursuant to Section 504, the Defendant

     may not afford a qualified handicapped person an opportunity to participate in or benefit

     from the aid, benefit, or service that is not equal to that afforded others; 45 CFR

     §84.4(b)(1)(ii).

            96.     As a distributor of federal funds and pursuant to Section 504, the Defendant

     may not provide a qualified handicapped person with an aid, benefit, or service that is not

     as effective as that provided to others; 45 CFR §84.4 (b)(1)(iii).

            97.     As a distributor of federal funds and pursuant to Section 504, the Defendant

     may not provide different or separate aid, benefits, or services to handicapped persons or to
                                                    22
Case 0:19-cv-61788-WPD Document 1 Entered on FLSD Docket 07/17/2019 Page 23 of 29



     any class of handicapped persons unless such action is necessary to provide qualified

     handicapped persons with aid, benefits, or services that are as effective as those provided to

     others; 45 CFR §84.4 (b)(1)(iv).

            98.     Plaintiff has been denied the ability to comprehend electronic documents

     provided by Defendant which would permit Plaintiff to access the programs, services and

     activities of the City of North Lauderdale and to advocate for the disabled and infirmed

     with respect to the City of North Lauderdale government. As a distributor of federal funds

     and pursuant to Section 504, Defendant may not otherwise limit a qualified handicapped

     person in the enjoyment of any right, privilege, advantage, or opportunity enjoyed by

     others receiving an aid, benefit, or service; 45 CFR §84.4(b)(1)(vii).

            99.     As a distributor of federal funds and pursuant to Section 504, Defendant

     may not (directly or through contractual or other arrangements) utilize criteria or methods

     of administration (i) that have the effect of subjecting qualified handicapped persons to

     discrimination on the basis of handicap, (ii) that have the purpose or effect of defeating or

     substantially impairing accomplishment of the objectives of the recipient's program or

     activity with respect to handicapped persons, or (iii) that perpetuate the discrimination of

     another recipient if both recipients are subject to common administrative control or are

     agencies of the same state; 45 CFR §84.4(b)(4).

            100.    As a distributor of federal funds and pursuant to Section 504, Defendant is

     required to evaluate (with the assistance of interested persons including handicapped

     persons or organizations representing handicapped persons) its current policies and

     practices and the effects thereof that do not or may not meet the requirements of this part;

     45 CFR §84.6(c)(1)(i).



                                                  23
Case 0:19-cv-61788-WPD Document 1 Entered on FLSD Docket 07/17/2019 Page 24 of 29



            101.    As a distributor of federal funds and pursuant to Section 504, Defendant is

     required to modify, after consultation with interested persons (including handicapped

     persons or organizations representing handicapped persons), any policies and practices that

     fail to meet the requirements of this part; 45 CFR §84.6(c)(1)(ii).

            102.    As a distributor of federal funds and pursuant to Section 504, Defendant is

     required to take, after consultation with interested persons (including handicapped persons

     or organizations representing handicapped persons), appropriate remedial steps to eliminate

     the effects of any discrimination that resulted from adherence to these policies and

     practices; 45 CFR §84.6(c)(1)(iii).

            103.    As a distributor of federal funds and pursuant to Section 504, Defendant is

     required to designate at least one person to coordinate its efforts to adopt grievance

     procedures that incorporate appropriate due process standards and that provide for the

     prompt and equitable resolution of complaints alleging any action prohibited by this part;

     45 CFR §84.7(a) & (b).

            104.    Defendant has discriminated against Plaintiff (and other individuals with

     visual impairments) in the unequal provision of the electronic documents which Defendant

     provides to the public. As a result, Plaintiff has experienced exclusion, segregation, mental

     anguish, and humiliation in violation of his civil rights.

            105.    Defendant‟s policies, practices and procedures, particularly the actions and

     omissions described above have violated Plaintiff‟s rights under Section 504 by

     discriminating on the basis of a disability.

            106.    As a public entity, Defendant knows or should know of the 2003 guidelines

     provided by the DOJ which require public entities to provide information to the public in

     accessible format.

                                                    24
Case 0:19-cv-61788-WPD Document 1 Entered on FLSD Docket 07/17/2019 Page 25 of 29



              107.   Defendant has failed to act on the likelihood of harm each time it has

     created and archived documents without addressing the accessibility of those electronic

     documents for blind and visually impaired individuals. Thus, Defendant has demonstrated

     deliberate indifference to Plaintiff‟s federally protected rights in failing to provide equal

     access to its services, programs and/or activities for blind and visually impaired

     individuals.

              108.   By Defendant‟s failure to make electronic documents accessible or to

     otherwise respond to Plaintiff‟s request for accommodation in a meaningful manner

     (requested by Plaintiff on March 23, 2019 via U.S. mail) Defendant's actions further reflect

     its deliberate indifference to the rights of Plaintiff based on Plaintiff‟s disability.

              109.   While in this instance Plaintiff requested accommodation from Defendant,

     no request for an accommodation is necessary to plead a claim for failure to accommodate

     where the need for such an accommodation is obvious. See Wilson v. Broward Cty., No.

     04-61068, 2006 WL 8431515, at *3 (S.D. Fla. Jan. 13, 2006)(denying a motion to dismiss

     in a Title II case where plaintiff claimed that his need for accommodation was obvious).

              110.   The ongoing and continuous act of failing to provide effective

     communication goes beyond gross negligence. Thus, Defendant is in violation of Section

     504 of the RA. See: Liese v. Indian River County Hosp. Dist., 701 F.3d 334, (11th Cir.

     2012).

              111.   The standard for deliberate indifference as set forth in Liese v Indian River

     County Hospital District, No. 10-15968 (11th Cir. Nov 13, 2012); See: “[D]eliberate

     indifference defined in the context as occurring when “the defendant knew that harm to a

     federally protected right was substantially likely and failed to act on that likelihood,” the

     Liese court, quoting from T.W. ex.rel. Wilson v. Sch. Bd of Seminole Cnty., Fla., 610 F.3d

                                                     25
Case 0:19-cv-61788-WPD Document 1 Entered on FLSD Docket 07/17/2019 Page 26 of 29



     at 604 (11th Cir.2010); accord Loeffler v. Staten Island Univ. Hosp., 582 F.3d 268, 275 (2d

     Cir.2009); Barber ex rel. Barber v. Colo. Dep't of Revenue, 562 F.3d 1222, 1228–29 (10th

     Cir.2009); Duvall v. Cnty. Of Kitsap, 260 F.3d 1124, 1139 (9th Cir.2001); see Fig. 1




                                              Fig. 1

            112.    Plaintiff has met the standard for deliberate indifference established in

     McCollum v Orlando Reg’l Healthcare Sys., Inc., 768 F.3d 1135, 1147 (11th Cir 2014): “a

     plaintiff must show that the defendant „knew that harm to a federally protected right was

     substantially likely‟ and „failed to act on that likelihood.‟” (emphasis omitted) (quoting

     Liese, 701 F.3d at 344), which standard was instrumental in the 11th Circuit Court of

     Appeals decision in favor of the deaf defendant Harold Crane to find that Palmetto General

     Hospital had intentionally discriminated against the plaintiff, reversing summary judgment

     on plaintiff‟s claim of ineffective communication during involuntary commitment

     proceeding under deliberate indifference standard (Crane v. Lifemark Hosps., Inc., 898

     F.3d 1130, 1135-36 (11th Cir. 2018).

            113.    As a result of Defendant's actions, Plaintiff has been damaged and has

     suffered injuries and shame, humiliation, isolation, segregation, experienced emotional

     suffering, pain and anguish and has been segregated and prohibited from enjoying the

     programs, services and activities offered by the City of North Lauderdale government to



                                                 26
Case 0:19-cv-61788-WPD Document 1 Entered on FLSD Docket 07/17/2019 Page 27 of 29



     residents and visitors (through the knowledge gained from its electronic service documents

     and through participating in the government of the City of North Lauderdale).

            114.    An award of monetary damages under Section 504 requires showing of

     intentional discrimination/deliberate indifference. Duvall v. County of Kitsap, 260 F.3d

     1124, 1138 (9th Cir. 2001). “Deliberate indifference requires both knowledge that a harm to

     a federally protected right is substantially likely [knowledge that an accommodation is

     required], and a failure to act upon that likelihood.” Id. at 1139; Lovell v. Chandler, 303

     F.3d 1039, 1056 (9th Cir. 2002).

            115.    Plaintiff is entitled to damages pursuant to Section 504 because of

     Defendant‟s deliberate indifference to the inaccessibility of the electronic documents it

     provides to the public, despite Plaintiff‟s request for accommodation.

            116.     Plaintiff has been obligated to retain the undersigned counsel for the filing

     and prosecution of this action. Plaintiff is entitled to have reasonable attorneys‟ fees, costs

     and expenses paid by Defendant City of North Lauderdale.

            117.    For all of the foregoing, Plaintiff has no adequate remedy at law

                                        PRAYER FOR RELIEF

             WHEREFORE, Plaintiff Juan Carlos Gil hereby demands judgment against

     Defendant City of North Lauderdale, Florida including a declaratory judgment, pursuant to

     Rule 57 of the FRCP stating that the Defendant‟s practices, policies, and procedures have

     subjected Plaintiff to discrimination in violation of Title II of the ADA and Section 504 of

     the RA to permanently enjoin the City of North Lauderdale from any practice, policy

     and/or procedure which will deny Plaintiff equal access to the services, programs and

     activities offered by the City of North Lauderdale to residents and visitors and in

     participating in the government of the City of North Lauderdale, Florida as well as:
                                                  27
Case 0:19-cv-61788-WPD Document 1 Entered on FLSD Docket 07/17/2019 Page 28 of 29



           a)     issue a declaratory judgment that Defendant has violated the Plaintiff‟s

                  rights as guaranteed by Title II of the ADA and Section 504;

           b)     The Court enter an Order requiring Defendant to update all electronic

                  documents made available to the public to remove barriers in order that

                  individuals with visual disabilities can access the electronic documents to

                  the full extent required by Title II of the ADA and Section 504;

           c)     enter an Order pursuant to 42 U.S.C. §12188(a)(2) for permanent injunction

                  which directs Defendant to take all steps necessary to bring the electronic

                  documents which it provides on its electronic media into full compliance

                  with the requirements set forth in the ADA, and its implementing

                  regulations, so that all electronic documents are fully accessible to, and

                  independently usable by, blind and low sighted individuals, and which

                  further directs that the Court shall retain jurisdiction for a period to be

                  determined to ensure that Defendant has adopted and is following an

                  institutional policy that will in fact cause Defendant to remain fully in

                  compliance with the law;

                d) Order Defendant to retain a qualified consultant acceptable to Plaintiff

                   (“Mutually Agreed Upon Consultant”) who shall assist it in improving the

                   accessibility of its electronic documents, so they are accessible to

                   individuals with visual disabilities who require those electronic documents

                   to be in accessible format or provided in HTML format;

           e)     Order Defendant to engage a (mutually agreed upon) Consultant to perform

                  an automated accessibility audit on a periodic basis to evaluate whether

                  Defendant‟s electronic documents to be accessible to individuals with visual

                                                28
Case 0:19-cv-61788-WPD Document 1 Entered on FLSD Docket 07/17/2019 Page 29 of 29



                    disabilities who require those documents to be in accessible format or

                    provided in HTML format;

            f)      award damages in an amount to be determined at trial;

            g)      award Plaintiffs‟ reasonable litigation expenses and attorneys‟ fees; and

            h)      award such other and further relief as it deems necessary, just and proper.

     Dated this 17th day of July, 2019.

                                          Respectfully submitted,
                                               s/Scott Dinin
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                                                  29
